Case 1:07-cr-00029-PLM      ECF No. 200, PageID.2206         Filed 05/06/10     Page 1 of 1




                         UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION




UNITED STATES OF AMERICA,

             Plaintiff,
                                                        File No. 1:07-CR-29
v.
                                                        HON. ROBERT HOLMES BELL
KARL WHITE, JR.,

             Defendant.
                                            /

                      MEMORANDUM OPINION AND ORDER

      This matter is before the Court on Defendant Karl White, Jr.’s motion for a new trial.

(Dkt. No. 195.) Federal Rule of Criminal Procedure 33(b) provides that a motion for a new

trial that is not grounded on newly discovered evidence must be filed within fourteen days

after the guilty verdict. Defendant’s motion for a new trial is not grounded on newly

discovered evidence. The jury found Defendant guilty on July 20, 2007. (Dkt. No. 94.)

Defendant did not file his motion for a new trial until December 14, 2009. Defendant’s

motion was not timely filed. Accordingly,

      IT IS HEREBY ORDERED that Defendant’s motion for a new trial (Dkt. No. 195)

is DENIED.




Dated: May 6, 2010                               /s/ Robert Holmes Bell
                                                 ROBERT HOLMES BELL
                                                 UNITED STATES DISTRICT JUDGE
